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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,
2138 Rayburn House Office Building
Washington, D.C. 20515,

                              Plaintiff,

                                             Case No. 1:19-cv-2379
     v.


DONALD F. MCGAHN II,
51 Louisiana Avenue, N.W.
Washington, D.C. 20001,

                               Defendant.




                                Exhibit FF
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                                                THE WHITE HOUSE
                                                     WASHINGTON


                                                       July 5, 2019


Sandra Moser, Esq.
Quinn Emanuel Urquhart & Sullivan, LLP
1300 I Street NW, Suite 900
Washington, D.C. 20005


Dear Ms. Moser:

       Iwrite in reference to written questions that your client, Annie Donaldson Talley,received
from the Committee on the Judiciary of the United States House of Representatives (the
"Committee") on June 26, 2019, pursuant to a subpoena issued to you by the Committee on May
21, 2019.

        Upon review of the questions, we believe that the questions listed below would call for
responses that implicate constitutionally-based Executive Branch confidentiality interests.
 Accordingly, the White House directs Ms. Talley not to provide substantive responses to the
following questions.

    •   12.d , e., i., j.
    •   13.b , c., d., e., f., g., h.
    •   14.a.,c., d.
    •   15.a., b.,c., d., e.
    •   16.b.,c.
    •   17.a. (If yes, ....") 1 , b., c., d., e., f., g., h.
    •   18.a., b., C.
    •   19.b., c., d., e., f.
    •   20.a., b., c., d., e., f., g., h.
    •   21.b.
    •   22.a , b.,c.
    •   23.a., b.
    •   24.
    •   25.b., C.
    •   26.b., c., d.
    •   27.b.,c.
    •   28.a., b.,c., d., e., f.
    •   29.a., b., c., d., e., f., g., h.
    •   30.b., f., g., h.

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 Portion of question quoted would call for a response that implicates constitutionally-based Executive Branch
confidentiality interests and therefore should not be answered.
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   •   31.b., c., d.
   •   32.b.
   •   33.b.
   •   34.b., c., d.
   •   35.a., c., d., e., f., g.
   •   36.c.
   •   37.b., c., d.
   •   38.b., C.
   •   39.b., C.
   •   40.b., f., g., h., i., j., k., 1., m., n., o.
   •   41.b., c., d., e.
   •   42.b. ("If yes, ...."), c. ("If yes, ...."), d.
   •   43.c.
   •   44.
   •   45.
   •   46.a., b., c., d., e., f.
   •   47.
   •   48.
   •   49.c., d.
   •   50. ("If yes, ...."), b., d., f., h.
   •   51.a., b., c., d., e., g., h., i.
   •   52.a., b., d., e., f.
   •   53.a., b.
   •   54.a., b., C.
   •   55.b., C.
   •   56.c., e.
   •   57.b., c., d.
   •   58.a., b., c.
   •   59.b., C.
   •   60.b., C.
   •   61.b.
   •   62.a., b., c., d., e.
   •   63.a., b., c., d., e.
   •   64.a., b., c., d.
   •   65.a., b., c., d.
   •   66.c., d., e., f.
   •   67.a., b., c., d., e., f., g.
   o   68.a., b., C.
   •   69.
   •   70.a., b.
   •   71.b , c., d., e.
   •   75.b., c., d., e.
   •   76.a. ("If yes, ...."), b.
   •   77.b , C.
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    •   78.a. ("If yes, ...."), b.
    •   79.b, C.
    •   80.a. ("If yes, .... "), b.
    •   81.b.
    •   83.a.
       Thank you for your attention to this matter. Please do not hesitate to contact me if you
have any questions.

                                            Sincerely,


                                           ?1;�1, -,e,�
                                            Michael M. Purpura
                                            Deputy Counsel to the President
